36 F.3d 1092
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Mark Steven FORTIER, Plaintiff Appellant,v.George SPEEDY, Attorney at Law, Defendant Appellee.
    No. 94-6555.
    United States Court of Appeals, Fourth Circuit.
    Submitted:  Aug. 25, 1994.Decided:  Oct. 5, 1994.
    
      Appeal from the United States District Court for the District of South Carolina, at Columbia.  David C. Norton, District Judge.  (CA-93-2286-18AJ)
      Mark Steven Fortier, appellant pro se.
      D.S.C.
      AFFIRMED.
      Before RUSSELL and MICHAEL, Circuit Judges, and PHILLIPS, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      Appellant appeals from the district court's order denying relief on his 42 U.S.C. Sec. 1983 (1988) complaint.  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  Fortier v. Speedy, No. CA-93-2286-18AJ (D.S.C. May 5, 1994).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    AFFIRMED
    